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 1    Thane Charman
      2270 Boundary St
 2    San Diego, CA 92104
      Telephone: 800-673-4384
 3    Email: OBEY.TCPA@GMAIL.COM

 4    Plaintiff, Pro Se

 5

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 7
                                 UNITED STATES DISTRICT COURT
 8
                               SOUTHERN DISTRICT OF CALIFORNIA
 9

10
      THANE CHARMAN, individual                    Civil Case No.: 3:23cv-0352-WHQ-AHG
11                        Plaintiff,
                                                   NOTICE OF MOTION
12    v.
                                                   PLAINTIFF'S MOTION FOR
13                                                 DEFAULT JUDGMENT AGAINST
      U.S.A. HOME INSPECTORS, A
                                                   DEFENDANT
      CALIFORNIA LIMITED LIABLITY
14
      COMPANY,. Keith Klinger, An
                                                   Date: January 16, 2024
      Individual;
15
                                                   NO ORAL ARGUMENT UNLESS
16                    Defendants,                  REQUESTED BY THE COURT

17                                                 The Honorable William Q. Hayes

18
            Please take notice that on January 16, 2024 pursuant to FRCP 55(b), Plaintiff
19
      Thane Charman will move the Honorable Chief Judge of Federal District Court for entry
20

21
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 1    of default judgment against Defendants for multiple TCPA violations. The Court may

 2    order the matter submitted on the papers. The address of the Federal District Court,

 3    Southern District of California is 333 West Broadway Blvd, San Diego, CA 92101.

 4

 5          Dated: November 30, 2023               Respectfully submitted,

 6

 7
                                       By: /s/ Thane charman
 8
                                            THANE CHARMAN
 9                                          Plaintiff, Pro Se

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                      PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1    Thane Charman
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 4    Plaintiff, Pro Se

 5

 6

 7

 8
                                UNITED STATES DISTRICT COURT
 9
                              SOUTHERN DISTRICT OF CALIFORNIA
10

11
      THANE CHARMAN, individual                Civil Case No.: 3:23cv-0352-WHQ-AHG
12
                          Plaintiff,
13
      v.                                       PLAINTIFF’S MOTION FOR DEFAULT
14                                             JUDGMENT
      U.S.A. HOME INSPECTORS, A
15                                             MORANDUM OF POINTS AND
      CALIFORNIA LIMITED LIABLITY
                                               AUTHORITIES
      COMPANY,. Keith Klinger, An
16
      Individual;
                                               Date: January 16, 2024
17
                                               NO ORAL ARGUMENT UNLESS
18                    Defendants,              REQUESTED BY THE COURT

19                                             THE HONORABLE William Q. Hayes

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 1                   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

 2    1.    Plaintiff THANE CHARMAN respectfully moves, under Fed. R. Civ. P. 50(b)(2),

 3    for a default judgment against U.S.A. Home Inspectors LLC and Keith Klinger, An

 4    Individual (herein “Defendants”).

 5                                    STATEMENT OF FACTS

 6    2.    Liability: Plaintiff in this case, Thane Charman, received (2) calls with

 7    prerecorded messages to their personal telephone number ending in -1119, which was

 8    listed on the National Do Not Call Registry since May 2018. Compl. ¶ 25. Plaintiff is

 9    charged for this cell phone bill through Verizon. Defendants runs a home inspection

10    service. Defendants uses telemarketing to market its services, including to persons, like

11    Plaintiff, who are registered on the National Do Not Call Registry

12    3.    Jurisdiction: This Court has federal -question subject matter jurisdiction over

13    Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

14    statue. Mims v. Arrow Fin. Serv., LLC, 565 U.S. 368, 372 (2012.)

15    4.

16    5.    Injury: Plaintiff has been harmed, injured and damage by the calls including, but

17    not limited to: reduce devices storage, space and reduce data plan usage, invasion of

18    privacy, reduced enjoyment and usage of his cell phone, reduced battery usage, anger,

19    frustration and aggravation.

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 1    6.    Damages: Violations of the TCPA § 227(b) and TCPA § 227(c) are set by statute at

 2    $500 per violation, which can be up to trebled if the Court finds the conduct to be knowing

 3    and/or willful Perrong v. Atom Property Sol’s, LLC, No. 2:22-cv-02000-MMB, ECF No

 4    10, at *1 (E.D. Pa. Nov. 30, 2022) (nearly identical motion as here); Perrong v. MLA Int'l,

 5    Inc., No. 6:20-CV-1606-RBD-EJK, 2022 WL 1238603, at *1 (M.D. Fla. Mar. 2, 2022),

 6    report and recommendation adopted in part, rejected in part, No. 6:20-CV-1606-RBD-EJK,

 7    2022 WL 1238609 (M.D. Fla. Mar. 18, 2022); Perrong v. Tranzvia, LLC., Civ. No. 2:17-

 8    cv-03664, at *1 (E.D. Pa. Apr. 5, 2018). To demonstrate that the conduct was knowing

 9    and/or willful, Plaintiff need merely prove that the defendant acted voluntarily and under

10    its own free will, regardless of whether the defendant knew it was acting in violation of the

11    statute. Charvat v. Ryan, 116 Ohio St. 3d 394 (Ohio 2007), quoting 47 U.S.C. § 312(f)(1).

12    A more explicit calculation will follow in the following sections.

13    7.    However, Plaintiff alleges all two calls with prerecorded messages were placed in

14    violation of the Do Not Call list. Therefore, Plaintiff is entitled to $6,000.00 for statutory

15    violations, plus her $402 filing fee and $125.00 in service costs for a grand total of

16    $6527.00.

17    8.    Posture: On May 21, 2023 Plaintiff filed their Amended Complaint against

18    Defendants, alleging violations of the Telephone Consumer Protection Act (“TCPA”)

19    (ECF Nos 9). Defendants were served on June 18, 2023. An answer to the complaint was

20    never given. Plaintiff filed proof of service as to the complaint on June 29, 2023 (ECF Nos

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 1    10 and 11). An Application for Entry of Default was filed by Plaintiff on October 24, 2023

 2    with the Clerk of the Court (ECF Nos 13). Default has been entered against U.S.A Home

 3    Inspectors and Keith Klinger on November 14, 2023 (ECS Nos 14). Representatives of

 4    Defendants contacted Plaintiff via email after service of initial complaint. Defendants

 5    know about the complaint.

 6                                  ARGUMENT AND AUTHORITIES

 7    9.    Fed. R. Civ. P. 55(b)(2) permits a court to enter a final judgment in a case

 8    following a defendant’s default. It is well settled in this Circuit that the entry of

 9    a default judgment is left primarily to the discretion of the district court. Tozer v. Charles

10    A. Krause Milling Co., 189 F.2d 242, 244 (3d Cir. 1951). As a threshold matter, a court

11    must confirm that it has subject matter jurisdiction over the case and personal jurisdiction

12    over the parties, ensure the Plaintiff has pled a cognizable claim, and ensure the

13    defendant had a fair notice of their opportunity to object. See, e.g., Ramada Worldwide

14    Inc. v. Benton Harbor Hari Ohm, L.L.C., Civ. No. 05-3452 at *9 (D.N.J. July 31, 2008).

15    For the reasons set forth below, these threshold conditions are met, and default judgment

16    is warranted.

17                The Court Has Jurisdiction and Service of Process Was Proper

18    10.   The Court has federal-question subject matter jurisdiction over Plaintiff’s TCPA

19    claims and specific personal jurisdiction over Defendant. Further, Defendant was duly

20    served with process in accordance with the requirements of Fed R. Civ. P. 4.

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 1                                     Subject Matter Jurisdiction

 2    11.    This Court has federal-question subject matter jurisdiction over the Plaintiff’s

 3    TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. Mims

 4    v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).

 5                                         Personal Jurisdiction

 6    12.    This Court has personal jurisdiction over Defendants because Defendants and

 7    Plaintiff reside in this District.

 8                                          Service of Process

 9    13.    In Under the Federal Rules of Civil Procedure, Defendants were properly served

10    with process and therefore had the opportunity to respond but did not. Under FED. R. CIV.

11    P. 4(h), a corporation may be served “by delivering a copy of the summons and of the

12    complaint to an officer, a managing or general agent, or any other agent authorized by

13    appointment or by law to receive service of process and—if the agent is one authorized by

14    statute and the statute so requires—by also mailing a copy of each to the defendant.” Here,

15    on June 18, 2023, Plaintiff’s process server served the complaint and summons to

16    Defendants. Plaintiff effected service under Rule 4(h).

17                      The Balance of Factors Weighs in Favor of a Default

18    14.    It is clear that the balance of factors surrounding Defendant’s opportunity to object

19    weighs in favor of a default. Plaintiff would be prejudiced without a default. Furthermore,

20    because Defendant have not responded, the Court is unable to consider neither the

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 1    existence nor lack of meritorious defenses, so this factor also weighs in Plaintiff’s favor.

 2    Finally, by refusing to participate in any way in court proceedings, Defendant have

 3    demonstrated the culpability necessary for their failure to respond to weigh against them.

 4                        Without Default, Plaintiff Will be Denied Relief

 5    15.   In considering a default judgment motion, the court must consider if the complaint

 6    is well-pled and has a sufficient basis in law. See Frazier v. Absolute Collection Serv., Inc.,

 7    767 F. Supp. 2d 1354, 1362 (N.D. Ga. 2011). The court must also consider the prejudice

 8    suffered by the party seeking default judgment. Emcasco Ins. Co. v. Sambrick, 834 F.2d

 9    71, 74 (3d Cir. 1987). Plaintiff has been prejudiced by Defendant’s failure to respond by

10    being prevented from prosecuting his case, engaging in discovery, and seeking relief in the

11    normal course. Pension Fund of Philadelphia & Vicinity v. Am. Helper, Inc., Civ. No. 11-

12    624, (D.N.J. Oct. 5, 2011). Here, Defendant made aware of its unlawful conduct when it

13    was served which went ignored. Nevertheless, Defendant have failed to appear and defend

14    against this action. In the absence of a default judgment, Plaintiff will be unfairly

15    prejudiced because she will be unable to obtain a decision on the merits and will be

16    effectively denied all relief. Finally, “the TCPA expressly provides for the award of

17    statutory damages, which further supports a finding that [the p]laintiff will be unfairly

18    prejudiced (and [the d]efendant’s conduct will not appropriately be deterred) if default

19    judgment is not entered.” Righetti v. Auth. Tax Servs., LLC, Civ. No. C-14-0146-EMC, at

20    *6 (N.D. Cal. Jul. 6, 2015). For these reasons, this factor weighs in favor of Plaintiff.

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 1                             Defendant has no Meritorious Defense

 2    16.   In seeking a default judgment, the lack of a defense weighs in favor of Plaintiff.

 3    Because the Defendant did not respond, the Court cannot determine whether or not

 4    Defendant had meritorious defenses that are not reflected in the record. The Court must

 5    therefore conclude that Defendant had no meritorious defense. The lack of any support for

 6    a meritorious defense is sufficient to warrant default judgment. See United States v.

 7    $55,518.05 in U.S. Currency, 728 F.2d 192 (3d Cir. 1984) (holding that the threshold issue

 8    in assessing default judgment is the presence of a prima facie case for a meritorious

 9    defense). Since there is no possibility for litigation on the merits or the consideration of

10    possible defenses, the court must weigh this factor in favor of the Plaintiff.

11                             Defendant is Culpable for its Conduct

12    17.   The standard for culpability is “willfulness” or “bad faith” on the part of the

13    defendant. Hritz v. Woma Corp., 732 F.2d 1178 (3d Cir. 1984). “[M]ore than mere

14    negligence [must] be demonstrated.” Id. at 1183. “Reckless disregard for repeated

15    communications from plaintiffs and the court . . . can satisfy the culpable conduct

16    standard.” Id.; see also Nationwide Mut. Ins. Co. v. Starlight Ballroom Dance Club, Inc.,

17    Civ. No. 05-1031, *3 (3d Cir. March 14, 2006). Courts in this circuit have found lack of

18    culpability only where the mistakes were innocent, accidental or somehow excusable.

19    Emcasco, 834 F.2d at 75 (finding no culpability where the defendant was not notified of a

20    court conference, he was only given two days to give an answer, and his counsel was

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 1    misinformed about what was required). Defendant’s failure to answer, despite adequate

 2    service and actual knowledge of the lawsuit, evidences their culpability in their default.

 3    Accordingly, this weighs in favor of Plaintiff.

 4          The Complaint Sufficiently Pleads a Cause of Action and Damages are Proven

 5    18.     The pleading clearly meets all the standards for legal sufficiency under Rule 8 and

 6    clearly outlines the conduct alleged and the basis for alleging it. The damages sought by

 7    Plaintiff of $6,527.00, are both reasonable and fair given the circumstances and facts of the

 8    case.

 9                                          Legal Sufficiency

10    19.     Default judgment is favored where the complaint sufficiently states a claim for relief

11    under the liberal pleading standards embodied in Rule 8 of the Federal Rules of Civil

12    Procedure. The Court must accept all well-pleaded factual allegations in a complaint as

13    true, except as to damages. Chanel, Inc. v. Gordashevsky, 558 F. Supp. 2d 532, 535 (D.N.J.

14    2008). In the pre-discovery phase, general allegations in a TCPA case are sufficient.

15    Robbins v. Coca-Cola-Co., No. 13-CV-132-IEG(NLS) (S.D. Cal. May. 22, 2013). Here,

16    Plaintiff has alleged and supported his TCPA claims with more than adequate specificity.

17    Compare Compl. ¶ 25-43 (date, caller ID, called number, message content, and whether or

18    not the called number was on the National Do Not Call Registry) with, e.g., Frischberg v.

19    Glob. Serv. Grp., LLC, No. 1:17-cv-4449 (NLH/KMW) (D.N.J. Jul. 18, 2018); Righetti v.

20    Auth. Tax Servs., LLC, No. C-14-0146 EMC (N.D. Cal. Jul. 6, 2015).

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 1    20.   In particular, Plaintiff has adequately and specifically stated claims for calls placed

 2    to a number on the National Do Not Call Registry. 47 U.S.C. § 227(c) and the regulations

 3    promulgated thereunder at 47 C.F.R. § 64.1200(c)(2), (c)(5), and (d)(6).

 4          First Claim: The elements of this claim are: (1) the defendant called a private

 5    telephone number; (2) registered on the National Do Not Call Registry; (3) Plaintiff

 6    received phone calls with prerecorded messages; (2) at least twice in any 12-month period;

 7    (5) for initiating any telephone solicitation; (6) without consent or having had consent

 8    revoked; 47 C.F.R. § 64.1200(c)(2); 47 U.S.C. § 227

 9          Plaintiff’s Complaint pleads each element of this claim:

10          (1) Defendant called Plaintiff’s private telephone number,

11          (2) Registered on the National Do Not Call Registry,

12          (3) Plaintiff received phone calls with prerecorded messages;

13          (4) At least twice in any 12-month period,

14          (5) For the purpose of initiating any telephone solicitation,

15          (6) Without consent or having had consent revoked

16

17                       Damages are Appropriate for Default Judgment

18    21.   “[T]he sum of money at stake in [a TCPA] action is particularly appropriate for

19    resolution on default judgment because TCPA damages are specifically set by statute.”

20    Auth. Tax Servs., at *7. The general rule is that cases seeking statutory damages are well-

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 1    suited to default judgment, even without a hearing. DIRECTV, Inc. v. Huynh, 318 F. Supp.

 2    2d 1122, 1126 (M.D. Ala. 2004); accord Frazier, 767 F. Supp. 2d at 1365.

 3    22.    Thus, in TCPA cases, a six-figure demand does not cause the sum-at-stake to weigh

 4    against granting default judgment. In fact, courts around the country have granted six and

 5    even seven-figure default judgments in TCPA cases. See e.g., Cunningham v. Select

 6    Student Loan Help, LLC, Civ. No. 3:15-cv-00554, at *1 (M.D. Tenn. July 16, 2018)

 7    ($249,000); Cunningham v. Enagic USA, Inc., Civ. No. 15-00847, at *1-2 (Jan. 16, 2018

 8    M.D. Tenn.), ECF No. 274 ($259,500); Tranzvia, LLC., at *1 ($45,000).

 9    23.   The statutory penalty for a TCPA violation is $500 for each violation of section

10    (b), section (c), or both sections. These damages can be up to trebled to $1,500. Charvat

11    v. NMP, LLC, 656 F.3d 440 (6th Cir. 2011). (Holding that a plaintiff can recover for

12    multiple violations under sections 227(b)(3) and section 227(c)(5) even if multiple

13    violations arose from the same call). Plaintiff pleads that he received two calls of

14    prerecorded messages. As outlined above, each of the two calls violates one part of

15    section (c) [the prohibition against calling numbers on the Do Not Call Registry] and

16    entitles Plaintiff to an award of $500 for each violation plus treble damages, or $1,500.00.

17    24.   The sum of statutory damages, therefore, totals $6,000.00. Courts have routinely

18    awarded treble damages in assessing TCPA damages arising from defaults. In fact, courts

19    have routinely awarded treble damages when the Plaintiff pleads a revocation of consent.

20    Mabeza v. Ashfield Mgmt. Servs., LLC, Civ. No. 17-cv-1946-AJB-KSC, (S.D. Cal. Mar.

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 1    20, 2018). Intent to violate the statute is not required for treble damages. Alea London

 2    Ltd. v. Am. Home Servs., 638 F.3d 768, 776 (11th Cir. 2011). (Holding that malice and

 3    wantonness are not required for treble damages in a TCPA action). So long as the

 4    Defendant knows the facts underlying the offense, it can be held liable for treble

 5    damages—ignorance of the law is no excuse. Charvat v. Ryan, 879 N.E.2d 765, 767

 6    (Ohio 2007). That is so even when the defendant made just one illegal call and made a

 7    good-faith attempt to comply with the law. Id. at 768.

 8    25.   The calls invaded Plaintiff’s privacy and were frustrating, annoying, and

 9    obnoxious. On a motion for default judgment in a TCPA case, a Plaintiff’s “burden to

10    prove up the amount of damages is minimal because the TCPA provides for the award of

11    statutory damages.” Auth. Tax Servs., at *8. This conclusion is unchanged by the number

12    of calls for which damages are sought. Id. at *9. Essentially, what matters is whether the

13    prima facie elements are pled for each violation, as they are here, and not the number of

14    violations.

15    26.   In addition, the Plaintiff paid the $402.00 filing fee, which he is entitled to recover

16    as a taxable cost as a prevailing party under 28 U.S.C. § 1920(1). Furthermore, the

17    Plaintiff expended $125.00 in effectuating service of process. Perrong Dec. Therefore,

18    Plaintiff is entitled to recover costs of service under FED. R. CIV P. 4(d)(2). Mercedes-

19    Benz Fin. Servs. USA LLC v. Chandler, No. 19-CV-15716-ES-ESK, 2020 WL 3892360,

20    at *2 (D.N.J. July 2, 2020). Therefore, Plaintiff seeks a total judgment of $6,527.00.

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                       PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1    27.   Given the foregoing, Plaintiff requests damages be calculated according to the

 2    above case precedent and prays that judgment be entered in the amount of $6,527.00,

 3    calculated as follows: one violation per call [based on 2] times $500 per violation, times

 4    treble damages, plus $402,00 in filing fees, plus $125.00 in service fees

 5                                         CONCLUSION

 6    28.   Defendant decided to make calls to the Plaintiff (to a number listed on the National

 7    Do Not Call Registry, no less). Defendant decided not to defend this lawsuit. Accordingly,

 8    entry of default judgment against Defendant is appropriate. Plaintiff Thane Charman

 9    respectfully prays for an award of $6,527.00, plus any other relief that the court deems just

10    and proper.

11          Dated: November 30, 2023                Respectfully submitted,

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14                                      By: /s/ Thane charman

15                                           THANE CHARMAN

16                                           Plaintiff, Pro Se

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                       PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1                                     PROOF OF SERVICE

 2    I, Thane Charman, am over 18, a pro per plaintiff in this matter and have served on
      Defendants as follows:
 3
      3:23cv-0352-WHQ-AHG Notice of motion, Motion for default judgment and
      Memorandum of Points and Authorities has been mailed to:
 4
      U.S.A. HOME INSPECTORS, A CALIFORNIA LIMITED LIABLITY
 5    14119 KELLI LN, EL CAJON,
      CA 92021-2700
 6
      by US Mail, postage pre-paid, first class to:
 7
      Keith Klingeer
 8    14119 KELLI LN, EL CAJON,
      CA 92021-2700
 9
      I swear under penalty of perjury that the above was served as stated.
10    Dated: November 30, 2023
                                                               /S/ THANE CHARMAN
11
                                                               THANE CHARMAN
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                       PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
